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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN


  Richard Kent,                             Case No.

             Plaintiff,                     Hon.

     v.                                     COMPLAINT AND DEMAND
                                            FOR JURY TRIAL
  McMorran Place and Port Huron
  Parks and Recreation,

             Defendants.



                                   COMPLAINT

      Plaintiff Richard Kent, by and through his attorney, Elizabeth K. Abdnour,

complains of Defendants McMorran Place and Port Huron Parks and Recreation and

alleges as follows:

                                 INTRODUCTION

      1.     Plaintiff, Richard Kent, an individual with a physical disability, brings

the instant action alleging that Defendants McMorran Place and Port Huron Parks

and Recreation have discriminated against him on the basis of his disability in

violation of federal and state anti-discrimination statutes.

      2.     Specifically, Plaintiff alleges that Defendants discriminated against him

based on his disability-related use of a service dog at his son’s high school



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graduation at McMorran Place; failed and/or refused to modify their policies,

practices, and procedures to comply with the law; and failed and/or refused to train

their employees as necessary to avoid discrimination against disabled persons.

      3.     As a result of Defendants’ discriminatory acts and omissions as alleged

herein, Plaintiff has suffered, and will continue to suffer, damages, and has been,

and will continue to be, prevented and deterred from accessing the goods, facilities,

programs, services and activities offered at McMorran Place, which is owned and

operated by Port Huron Parks and Recreation, independently and in a manner equal

to individuals without disabilities.

      4.     Through this lawsuit, Plaintiff seeks an injunction requiring Defendants

to provide him, and similarly situated persons, “full and equal” access to Defendants’

public facilities as required by law. Plaintiff also seeks damages and reasonable

attorneys’ fees, costs, and litigation expenses for enforcing his civil rights.

                                       PARTIES

      5.     Plaintiff Richard Kent is, and at all times relevant herein was, a

Michigan resident with a physical disability.

      6.     Defendant McMorran Place is, and at all times relevant to herein was,

an event center located at 701 McMorran Blvd., Port Huron, Michigan 48060.

      7.     Defendant Port Huron Parks and Recreation (hereinafter, “Parks and

Recreation”) is, and at all times relevant to herein was, the owner and operator of

the McMorran Place.




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                             JURISDICTION AND VENUE

      8.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with

Disabilities Act (“ADA”).

      9.     Pursuant to pendent jurisdiction, an attendant and related cause of

action, arising from the same nucleus of operative facts and arising out of the same

transactions, is also brought under Michigan’s Persons with Disabilities Civil Rights

Act, M.C.L. § 37.1101 et seq.

      10.    Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is

founded on the fact that the Defendants reside in and do business in this district and

the events and/or omissions giving rise to Plaintiff’s claim occurred in this district.

                             FACTUAL ALLEGATIONS

Plaintiff’s Disability and Service Animal

      11.    Plaintiff is legally blind.

      12.    Plaintiff is only able to see light and darkness.

      13.    Plaintiff can see only very minimal contrast, where there is black on

white. However, for example, if there is something white on a black table, Plaintiff

cannot tell what is on it.

      14.    Plaintiff’s physical impairment significantly limits him in activities of

daily living, including mobility.

      15.    Plaintiff requires the use of a service dog, EASY, for mobility

assistance, to guide Plaintiff around.


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       16.   Plaintiff’s service dog is trained as a working guide dog.

       17.   Plaintiff’s service dog, EASY, graduated from guide dog training on

March 5, 2015, at Leader Dogs for the Blind in Rochester Hills, Michigan.

       18.   Plaintiff has used his service dog, EASY, since 2015.

Plaintiff’s June 5, 2019, Experience at the McMorran Place

       19.   On June 5, 2019, Plaintiff went to the McMorran Place with his wife,

daughter, and son to attend his son’s graduation from Northern High School in Port

Huron, Michigan.

       20.   Plaintiff’s son had talked to the high school counselor, Mrs. Duman,

about bringing his service dog to the graduation prior to the event.

       21.   Mrs. Duman assured Plaintiff that there would be no problem and that

his service dog would be welcome at the event.

       22.   Plaintiff and his wife approached the entrance to the McMorran Place

and the Port Huron Public Schools (PHPS) Superintendent, Jamie Cane, opened the

door for them.

       23.   Subsequently, a female McMorran Place employee (Doe 1) approached

Plaintiff.

       24.   Doe 1 informed Plaintiff that dogs were not allowed in the building

without showing paperwork.

       25.   Mr. Cane, the PHPS Superintendent, was present during this exchange

but did not say anything or otherwise intervene.




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         26.   Plaintiff stated he was going into the McMorran Place anyway and he

and his wife proceeded towards where the graduation ceremony would be taking

place.

         27.   Doe 1 followed him.

         28.   Doe 1 then called for a manager of the McMorran Place (Doe 2).

         29.   Doe 2 came down and told Plaintiff he could not be there with his dog

unless he had certifications or paperwork.

         30.   Plaintiff asked Doe 2 if she had a copy of the ADA law.

         31.   Doe 2 responded she did in her office and Plaintiff told her to go look

at it.

         32.   Doe 2 refused and repetitively told Plaintiff “You gotta leave, you gotta

leave.”

         33.   Plaintiff requested assistance from a security guard (Doe 3).

         34.   Doe 3 failed to provide Plaintiff any assistance.

         35.   Does 1-3 repeated to Plaintiff that he had to leave.

         36.   At this time, Plaintiff had missed half his son’s graduation ceremony,

an event and time which Plaintiff can never recover and participate in.

         37.   Plaintiff’s wife saw a woman two rows behind where she and Plaintiff

had been sitting with a small dog in her handbag with a handkerchief around its neck.

         38.   Plaintiff’s service dog, EASY, was in full uniform, which included

Leader Dog leash and harness and Leader Dog tags.




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      39.    A police officer was present at the McMorran Place and Plaintiff asked

if she could please write the incident down and make a report to ensure it was

documented.

      40.    The police officer told Plaintiff that the police only take reports

regarding criminal matters and refused to take a report.

      41.    Plaintiff was escorted out of the McMorran Place by Does 1-3.

      42.    On the way out, Plaintiff passed Mr. Cane, the PHPS Superintendent,

and asked if he heard the exchange.

      43.    Mr. Cane stated he did not want to get involved because he didn’t know

what the McMorran Center’s rules were.

      44.    After escorting Plaintiff out, Does 1-3 dispersed.

      45.    Plaintiff then went back in, hoping to watch at least some of the

ceremony and see his son walk across the stage.

      46.    Plaintiff was only able to see the last 15 minutes of the ceremony.

      47.    Plaintiff completely missed watching his son walk across the stage and

accept his high school diploma, a once-in-a-lifetime event.

      48.    The following day, June 6, 2019, Plaintiff received a call from Nancy

Winzer, the Director of Port Huron Parks and Recreation, which oversees the

McMorran Place.

      49.    Winzer called Plaintiff to apologize for his experience at the McMorran

Place the previous day.




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       50.    Winzer stated she knew the director of the McMorran Place and would

be talking to them.

       51.    Plaintiff told Winzer he understood the apology, but his son only

graduates once, and that moment was now over.

       52.    Winzer also informed Plaintiff that they were going to be doing some

training in the fall.

       53.    Plaintiff never received any follow up from Winzer and has not spoken

with her since the June 6, 2019, call.

       54.    Mrs. Duman, the Northern High School school counselor, called

Plaintiff a few days after the graduation ceremony to apologize.

       55.    Mrs. Duman stated the school was sorry for what had happened and

that it wasn’t their facility.

   A. Injury

       56.    As a direct and proximate result of Defendants’ acts and omissions,

Plaintiff experienced difficulty, physical and emotional distress, embarrassment,

frustration, and anxiety.

       57.    As a direct and proximate result of Defendants’ acts and omissions,

Plaintiff was forced to miss his son’s high school graduation ceremony, an event that

only happens once in a lifetime and that all parents eagerly plan for and look forward

to celebrating with their children.




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                                  COUNT I
                          Violation of Title II of the
                        Americans with Disabilities Act
                           42 U.S.C. § 12131 et seq.
                 (Defendant Port Huron Parks and Recreation)

      58.    Plaintiff re-pleads and incorporates by reference the allegations

contained in each of the foregoing paragraphs.

      59.    Title II of the ADA provides in pertinent part: “[N]o qualified

individual with a disability shall, by reason of such disability, be excluded from

participation in or be denied the benefits of the services, programs, or activities of a

public entity, or be subjected to discrimination by any such entity.” 42 U.S.C. §

12132.

      60.    Plaintiff is, and at all times relevant herein was, a person with a

“disability” within the meaning of the ADA. 42 U.S.C. § 12102.

      61.    Port Huron Parks and Recreation is, and at all times relevant herein was,

a public entity within the meaning of the ADA. 42 U.S.C. § 12131(1).

      62.    Plaintiff is, and at all times relevant herein was, a “qualified individual

with a disability” within the meaning of Title II of the ADA. 42 U.S.C. § 12131(2).

As a member of the public, Plaintiff meets the essential eligibility requirements for

availing himself of attending events at the McMorran Place, such as the Northern

High School – Port Huron Graduation Ceremony.

      63.    In acting as herein alleged, Defendants have discriminated against

Plaintiff on the basis of his disability in violation of Title II and its implementing

regulations. The Defendant’s discriminatory conduct includes, inter alia:


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          a.      Failing to operate the McMorran Place so that it is “readily

    accessible to and usable by individuals with disabilities” (28 C.F.R. §

    35.150(a));

          b.      Denying Plaintiff the opportunity to participate in or benefit from

    the McMorran Place’s services, programs, or activities on the basis of his

    disability (28 C.F.R. § 35.130(b)(1)(i));

          c.      Affording Plaintiff an opportunity to participate in or benefit

    from the McMorran Place’s services, programs, or activities that is equal to

    that afforded his non-disabled peers (28 C.F.R. § 35.130(b)(1)(ii));

          d.      Otherwise limiting Plaintiff in the enjoyment of any right,

    privilege, advantage, or opportunity enjoyed by others receiving the aids,

    benefits, or services offered by the McMorran Place (28 C.F.R. §

    35.130(b)(1)(vii));

          e.      Utilizing methods of administration that have the effect of

    subjecting Plaintiff to discrimination on the basis of his disability (28 C.F.R.

    § 35.130(b)(3)(i));

          f.      Failing to make reasonable modifications in policies, practices,

    or procedures where necessary to avoid discrimination against Plaintiff on the

    basis of his disability (28 C.F.R. § 35.130(b)(7));

          g.      Failing to modify its policies, practices, or procedures to permit

    Plaintiff the use of his service animal (28 C.F.R. § 35.136(a)); and




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                h.    Denying Plaintiff his right to be accompanied by his service

      animal in all areas of the McMorran Place where members of the public or

      participants in services, programs, or activities are allowed to go (28 C.F.R. §

      35.136(g)).

      64.       The Defendants’ duties under Title II of the ADA are mandatory and

long-established.

      65.       The Defendants have had knowledge of their duties at all times relevant

herein; their failure to carry out said duties as alleged herein was a willful and

knowing decision and choice, and/or the product of deliberate indifference.

      66.       The Defendants were provided actual notice of its discriminatory

policies regarding service dogs; the impact those policies have had on Plaintiff; and

its duty to modify such policies.

      67.       Despite this knowledge, the Defendants failed and refused to take any

steps to modify the policies or otherwise address Plaintiff’s concerns.

      68.       The Defendants’ failures in this regard constitute deliberate

indifference.

      69.       As a direct and proximate result of Defendants’ acts and omissions,

Plaintiff sustained deprivation of the right to equal access to a public facility, severe

emotional and physical distress, loss of civil rights, frustration, difficulty,

embarrassment, inconvenience, and was forced to miss his son’s high school

graduation ceremony.

      70.       Pursuant to 42 U.S.C. §§ 12133 and 12205, Plaintiff prays for judgment


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as set forth below.

                                     COUNT II
                             Violation of Title III of the
                           Americans with Disabilities Act
                              42 U.S.C. § 12101 et seq.
                            (Defendant McMorran Place)

       71.   Plaintiff re-pleads and incorporates by reference the allegations

contained in each of the foregoing paragraphs.

       72.   Title III of the ADA provides that “No individual shall be discriminated

against on the basis of disability in the full and equal enjoyment of the goods,

services, facilities, privileges, advantages, or accommodations of any place of public

accommodation by any person who owns, leases (or leases to), or operates a place

of public accommodation.” 42 U.S.C. § 12182(a).

       73.   Among the “private entities” which are considered “public

accommodations” for purposes of this title includes an auditorium, convention

center, lecture hall, or other place of public gathering. 42 U.S.C. § 12181(7)(D).

       74.   McMorran Place is a convention center or other place of public

gathering, and therefore a place of “public accommodation” under Title III of the

ADA.

       75.   In acting as herein alleged, Defendants have discriminated against

Plaintiff on the basis of his disability in violation of Title III of the ADA.

Defendants’ discriminatory conduct includes, inter alia:

             a.       Directly,   or   through   contractual,   licensing,   or   other

       arrangements, excluding or denying Plaintiff goods, services, facilities,


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      privileges, advantages, accommodations, and/or opportunities, on the basis of

      his disability. 42 U.S.C. § 12182(b)(1)(A)(i); and

             b.     Failing “to make reasonable modifications in policies, practices,

      or procedures, when such modifications are necessary to afford such goods,

      services, facilities, privileges, advantages, or accommodations to individuals

      with disabilities, unless the entity can demonstrate that making such

      modifications would fundamentally alter the nature of such goods, services,

      facilities, privileges, advantages, or accommodations,” and specifically,

      failing “to modify their policies, practices, or procedures to permit the use of

      a service animal by an individual with a disability.”               42 U.S.C. §

      12182(b)(2)(A)(ii); 28 C.F.R. § 36.302(c).

      76.    As a direct and proximate result of Defendants’ acts and omissions,

Plaintiff sustained deprivation of the right to equal access to a public facility, severe

emotional and physical distress, loss of civil rights, frustration, difficulty,

embarrassment, inconvenience, and was forced to miss his son’s high school

graduation ceremony.

      77.    Pursuant to the remedies, procedures, and rights set forth in 42 U.S.C.

§ 12188 and 42 U.S.C. § 12205, Plaintiff prays for judgment as set forth below.




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                                   COUNT III
                             Violation of Michigan’s
                     Persons with Disabilities Civil Rights Act
                             M.C.L. § 37.1101 et seq.
                                 (All Defendants)

      78.    Plaintiff re-pleads and incorporates by reference the allegations

contained in each of the foregoing paragraphs.

      79.    The McMorran Place is an entertainment facility, and as such is a

“Place of Public Accommodation” as defined in the Persons with Disabilities Civil

Rights Act (PDCRA). MCL 37.1301(a).

      80.    PDCRA prohibits discrimination in entertainment facilities and other

places of public accommodation because of a disability. MCL 37.1302.

      81.    PDCRA prohibits places of public accommodation from denying an

individual the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, or accommodations because of a disability. MCL 37.1302(a).

      82.    Defendants’ failure to accommodate Plaintiff and failure to provide

Plaintiff with a full and equal enjoyment of its facility and services constitute

discrimination under PDCRA.

      83.    Defendants denied Plaintiff access to the McMorran Place, a place of

public accommodation, on the basis of his disability in violation of PDCRA.

      84.    As a direct and proximate result of Defendants’ acts and omissions,

Plaintiff sustained deprivation of the right to equal access to a public facility, severe

emotional and physical distress, loss of civil rights, frustration, difficulty,

embarrassment, inconvenience, and was forced to miss his son’s high school


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graduation ceremony.

      85.     Pursuant to the remedies, procedures, and rights set forth in M.C.L. §

37.1101 et seq., Plaintiff prays for judgment as set forth below.

                                    COUNT IV
                                     Negligence
                                  (All Defendants)

      86.     Plaintiff re-pleads and incorporates by reference the allegations

contained in each of the foregoing paragraphs.

      87.     Defendants owed Plaintiff a duty to operate the McMorran Place in a

manner that was free from unlawful discrimination, and to hire, train, supervise, and

discipline their employees and themselves to fulfill that duty.

      88.     Defendants negligently violated their duty to Plaintiff by engaging in

discrimination based on Plaintiff’s disability and need for a service dog. Defendants’

violation of that duty was the result of negligence, including but not limited to:

              a.    Defendants’ negligent failure to train their employees and

      themselves regarding the requirements of state and federal anti-discrimination

      laws;

              b.    Defendants’ negligent failure to hire persons who were familiar

      with the requirements of state and federal anti-discrimination laws;

              c.    Defendants’ negligent failure to supervise their employees

      regarding compliance with the requirements of state and federal anti-

      discrimination laws;




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             d.     Defendants’ negligent failure to discipline or terminate

      employees who failed to comply with the requirements of state and federal

      anti-discrimination; and

             e.     Defendants’ negligent failure to operate the subject property in

      conformity with accepted industry custom and standards.

      89.    As a direct and proximate result of Defendants’ acts and omissions,

Plaintiff sustained deprivation of the right to equal access to a public facility, severe

emotional and physical distress, loss of civil rights, frustration, difficulty,

embarrassment, inconvenience, and was forced to miss his son’s high school

graduation ceremony.

      90.    Wherefore, Plaintiff prays for relief as set forth below.

                                     COUNT V
                    Intentional Infliction of Emotional Distress
                                  (All Defendants)

      91.    Plaintiff re-pleads and incorporates by reference the allegations

contained in each of the foregoing paragraphs.

      92.    As a direct and proximate result of Defendants’ acts and omissions,

Plaintiff sustained deprivation of the right to equal access to a public facility, severe

emotional and physical distress, loss of civil rights, frustration, difficulty,

embarrassment, inconvenience, and was forced to miss his son’s high school

graduation ceremony.

      93.    Wherefore, Plaintiff prays for relief as set forth below.




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      94.      Defendants engaged in extreme and outrageous conduct by denying

Plaintiff his right to bring his service animal to his son’s graduation and removing

him from his son’s graduation.

      95.      Defendants’ conduct was done with intent and/or recklessness.

      96.      As a direct and proximate result of Defendants’ acts and omissions,

Plaintiff sustained deprivation of the right to equal access to a public facility, severe

emotional and physical distress, loss of civil rights, frustration, difficulty,

embarrassment, inconvenience, and was forced to miss his son’s high school

graduation ceremony.

      97.      Wherefore, Plaintiff prays for relief as set forth below.



                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court:

   1. Issue an injunction pursuant to the ADA and PDCRA:

            a. Ordering Defendants to develop and adopt general non-discrimination,

               disability accommodation, and service animal policies;

            b. Ordering Defendants to modify their policies and practices to avoid

               discrimination against individuals with disabilities based on the

               disability-related use of a service animal; and

            c. Ordering Defendants to train their staff and management regarding the

               rights of individuals with disabilities who use service animals.




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   2. Award Plaintiff general, compensatory, and statutory damages in an amount

      within the jurisdiction of this court;

   3. Award Plaintiff punitive damages according to proofs;

   4. Award Plaintiff attorneys’ fees, litigation expenses and costs of suit, as

      provided by law; and

   5. Award such other and further relief as the Court may deem just and proper.



                                 JURY DEMAND

      NOW COMES Plaintiff Richard Kent, by and through his attorney, Elizabeth

K. Abdnour, and hereby demands a trial by jury of all the issues in this case.



DATED: May 31, 2022                     Respectfully submitted,

                                        s/Elizabeth K. Abdnour
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